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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No. 2:21-cv-04200-JWH-PD                                        Date: October 29, 2021
 Title       Christopher T Barone v Los Angeles County Sheriff’s Department, et al



 Present: The Honorable:           Patricia Donahue, United States Magistrate Judge


                 Isabel Martinez                                      N/A
                  Deputy Clerk                              Court Reporter / Recorder

    Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 N/A                                                N/A

 Proceedings: (IN CHAMBERS) Order Authorizing Early Discovery to
 Learn Names of Doe Defendants

        On May 19, 2021, Plaintiff Christopher T. Barone, a California resident
 proceeding pro se, filed a civil rights complaint alleging that Defendants Los
 Angeles County Sheriff’s Department (“LASD”), Deputies Park and Metcalf,
 and Does 1-10 violated his rights under the United States Constitution and
 in state law in connection with a wrongful arrest and detention. [Dkt. No. 1.]
 On June 23, 2021, the Court screened the initial complaint sua sponte and
 dismissed it with leave to amend. [Dkt. No. 4.] The Court found that the
 complaint violated Rule 8 of the Federal Rules of Civil Procedure for failing to
 sufficiently place Defendants on notice of the specific conduct alleged,
 including when it occurred. The Court further noted that because Plaintiff
 did not state the outcome of the arrest, including whether a criminal case was
 initiated, his claims might be barred by Heck v. Humphrey, 512 U.S. 477
 (1994).

       After receiving an extension of time, Plaintiff filed the First Amended
 Complaint (“FAC”) on September 20, 2021. [Dkt. No. 10.] In it, Plaintiff
 alleges that on February 12, 2020, Deputies Park and Metcalf came to his
 place of business, the Lake Lindero Country Club in Los Angeles County, and



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 called an individual to the premises who had an expired restraining order
 against Plaintiff. Plaintiff states that he informed the deputies that he had
 never been served with the restraining order. Despite that fact, Plaintiff was
 arrested when the individual arrived at the country club. Additionally, six
 unnamed deputies searched Plaintiff and his truck without a warrant. The
 FAC clarified that the criminal case did not result in a conviction against
 Plaintiff, and that it was “dropped” in January 2021. [Dkt. No. 10 at 9.]

        The FAC states eight causes of action: (1) violation of the Fourth
 Amendment for unlawful/unreasonable seizure of person by the deputies; (2)
 violation of the Fourth Amendment for unreasonable/unlawful entry and
 search and seizure by six unnamed deputies and the LASD; (3) liability under
 Monell v. N.Y.C. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978), for the failure
 to properly hire, fire, discipline, and train by the LASD; (4) Monell liability
 for the violation of Plaintiff’s federal constitutional rights as a result of an
 official policy, custom, usage and practice by the LASD; (5) false arrest/false
 imprisonment under state law by all defendants; (6) violation of state law
 Bane Act by all defendants; (7) negligence under state law by all defendants;
 (8) intentional infliction of emotional distress under state law by all
 defendants. Plaintiff seeks compensatory and punitive damages. [Dkt. No.
 10 at 14-27.]

     In a separate order, the Court directs service of the Summons and First
 Amended Complaint on Deputy Park, Deputy Metcalf, and the LASD.

       In the FAC, Plaintiff alleges that unnamed deputies seized him and
 searched him and his truck in violation of the Fourth Amendment and state
 law. Doe pleading is generally disfavored in this Circuit. Gillespie v.
 Civiletti, 629 F.2d 637, 642 (9th Cir. 1980).




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       To further the speedy and inexpensive determination of this action, as
 required by Federal Rule of Civil Procedure 1, the Court concludes that it is
 in the interest of justice to authorize Plaintiff to conduct early discovery
 under Federal Rule of Civil Procedure 26(d)(1). The Court finds that limited
 discovery is appropriate to the extent that Plaintiff needs further information
 to identify the Doe defendants and enable service upon them. See Wakefield
 v. Thompson, 177 F.3d 1160, 1163 (9th Cir. 1999) (“[W]here the identity of
 the alleged defendant is not known prior to the filing of a complaint, the
 plaintiff should be given an opportunity through discovery to identify the
 unknown defendants, unless it is clear that discovery would not uncover the
 identities, or that the complaint would be dismissed on other grounds.”
 (quoting Gillespie, 629 F.2d at 642 (alterations omitted))).

       Accordingly, the Court authorizes Plaintiff to serve an interrogatory on
 the LASD to learn the names of the Doe defendants identified in the FAC
 who are alleged to have caused Plaintiff’s injuries. Plaintiff shall serve the
 interrogatory no later than November 15, 2021.

       No later than January 4, 2022, Plaintiff shall file one of the following
 three documents:

         (1)     If no Defendant has yet responded to the FAC, Plaintiff
                 shall file a Second Amended Complaint identifying the Doe
                 defendants by name;

         (2)     If a Defendant has responded to the FAC, Plaintiff shall file
                 a motion for leave to file a Second Amended Complaint,
                 attaching as an exhibit to the motion a copy of the Second
                 Amended Complaint identifying the Doe defendants by
                 name; or



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         (3)     If Plaintiff has not received a response to the interrogatory,
                 or if the interrogatory response does not identify the Doe
                 defendants, Plaintiff shall file a Status Report stating when
                 the interrogatory was served and affirming that no
                 response was received, or, if a response was received, that
                 the response did not identify the Doe defendants. Plaintiff
                 shall attach to the Status Report a copy of the interrogatory
                 served on the LASD including the proof of service, and a
                 copy of any response received from the LASD to the
                 interrogatory.

         IT IS SO ORDERED.




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                                                      Initials of Preparer       im




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